                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                   EASTERN DIVISION

 TINA D. BAILEY,                                 )
                                                 )                 CASE NO. 19-40065-JJR11
             Debtor.                             )


                       AGREED ORDER CONDITIONALLY DENYING
                        MOTION FOR RELIEF FROM AUTOMATIC
                        STAY FILED BY CREDITOR CIT BANK, N.A.


         CIT Bank, N.A. (“CIT”), filed its Motion for Relief from Automatic Stay (Doc. No. 41),

 on February 25, 2019. The Court set this matter for hearing on March 21, 2019. Based on

 representation of Harry Long made in open Court, the matter has been settled. Therefore, upon

 agreement of the parties, it is hereby ORDERED as follows:

             1. The Motion for Relief is CONDITIONALLY DENIED, conditioned specifically

                 on Debtor’s compliance with the following, agreed upon, terms:

                     a. Debtor will make adequate protection payments to CIT in the amount of
                        $2,275.62 each month, beginning April 1, 2019. If any payment is not
                        received by the 10th day of each month, the automatic stay will lift without
                        further Order of this Court to allow CIT to enforce all of its rights with
                        respect to the real property described in the Motion for Relief from Stay (the
                        “Property”).

                     b. The Debtor will maintain property taxes and insurance on the Property and
                        in the event of default with respect to taxes and insurance, the automatic
                        stay will lift without further Order of this Court 20 days after a notice of
                        default is served upon Debtor and her attorney, and the default not being
                        cured.

                     c. The Debtor will have a period of 6 months in which to sell the Property at
                        a price sufficient to result in a total sum of $450,000.00 being paid to CIT
                        in full satisfaction of the mortgage on the Property, exclusive of any closing
                        costs or related expenses, all of which will be borne by the Debtor.




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Case 19-40065-JJR11         Doc 54    Filed 04/04/19 Entered 04/04/19 15:52:06             Desc Main
                                     Document      Page 1 of 2
                     d. If the Property has not been sold and CIT paid within 6 months, CIT has the
                        right to request an evidentiary hearing before this Court to proceed with its
                        Motion for Relief.

                     e. If the stay lifts pursuant to this Order or the Property is not sold per the
                        terms of paragraph c. above, CIT will retain the right to enforce the full
                        amount of its note and mortgage against the Property and all obligors.



               Dated: April 4, 2019


                                                /s/ James J. Robinson
                                               James J. Robinson
                                               Chief United States Bankruptcy Judge
 Order prepared by:
 Stephen B. Porterfield
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 Reviewed and Agreed to by:
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                                                  2

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Case 19-40065-JJR11         Doc 54     Filed 04/04/19 Entered 04/04/19 15:52:06           Desc Main
                                      Document      Page 2 of 2
